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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   JAMES J.,                               )     NO. SA CV 21-426-E
                                             )
12                    Plaintiff,             )
                                             )
13        v.                                 )     JUDGMENT
                                             )
14   KILOLO KIJAKAZI, Acting                 )
     Commissioner of Social Security,        )
15                                           )
                      Defendant.             )
16                                           )
                                             )
17

18        IT IS HEREBY ADJUDGED that the decision of the Commissioner of
19   the Social Security Administration is reversed in part and the matter
20   is remanded for further administrative action consistent with the
21   Opinion filed concurrently herewith.
22

23               DATED: November 16, 2021.
24

25                                                    /S/
                                                CHARLES F. EICK
26                                      UNITED STATES MAGISTRATE JUDGE
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